989 F.2d 491
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Gregory Orlander BOOZE, Petitioner-Appellant,v.Patrick WHALEN, Respondent-Appellee.
    No. 92-7200.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 1, 1993Decided:  March 24, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Rebecca B. Smith, District Judge.  (CA-92-129-2)
      Gregory Orlander Booze, Appellant Pro Se.
      Michael Anson Rhine, Office of the United States Attorney, Norfolk, Virginia, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, HAMILTON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Gregory Orlander Booze appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2241 (1988).  Our review of the record and the district court's opinion adopting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Booze v. Whalen, No. CA-92-129-2 (E.D. Va.  Nov. 10, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    